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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


THOMAS REYNOLDS                                                                       PLAINTIFF


vs.                                  No. 5:19-cv-5217-PKH


SILOAM SPRINGS COUNTRY CLUB,                                                        DEFENDANTS
INC., THE COURSE AT SAGER’S
CROSSING, LLC, and JONATHAN SELF


                                       STATUS REPORT


       The purpose of this Status Report is to update the Court on the status of

settlement finalization:

       1.      On February 26, the Parties informed the Court that they had reached a

settlement in principle that would resolve Plaintiff’s claims of attorneys’ fees and costs.

See ECF No. 43.

       2.      The Parties stated that they intended to file a Joint Stipulation of Dismissal

by March 12.

       3.      Plaintiff represents that the Parties have finalized a fees and costs

agreement and are working diligently to acquire the necessary signatures.

       4.      Unless the Court objects and would prefer a different deadline, Plaintiff

represents that the Parties will file the necessary dismissal papers by March 26.




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                                                 Respectfully submitted,

                                                 PLAINTIFF THOMAS REYNOLDS

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